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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

BILAL HANKINS                                                          CIVIL ACTION

VERSUS                                                                 NO. 21-1129

KEVIN WHEELER ET AL                                                    SECTION: L (1)


                                          JUDGMENT


       Considering this Court=s Order & Reasons entered herein on September 6, 2023,

accordingly:

       IT IS ORDERED, ADJUDGED AND DECREED that there be judgment in favor of the

defendants, Kevin Wheeler, Michael Brenckle, Jamel Brown, Darnell Laurent, Kerry Najolia,

Carl Perilloux, Thaddeus Petit, Ramon Pierre, Demetrius Jackson, Tyrone Martin, Tommy

Mercadal and Leontine Mullins and against plaintiff, Bilal Hankins, dismissing the plaintiff’s

excessive force, unreasonable seizure, conspiracy, failure to train or supervise, and Monell claims.

The Court declines to exercise supplemental jurisdiction over the remaining state law claims, and

dismisses those without prejudice.

       New Orleans, Louisiana, this       8th   day of September, 2023.


                                                ________________________________
                                                ELDON E. FALLON
                                                UNITED STATES DISTRICT JUDGE
